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     CxsCG2023CV02810 08/17/2023 03:35:44 PM Docket Entry No. 1


                                                                                        Exhibit 1
                              COMMONWEALTH OF PUERTO RICO
                                 COURT OF FIRST INSTANCE
                                 SUPERIOR PART OF CAGUAS
                                                                 [Stamped] UNICO LEGAL 26OCT*23 PM1:05



                   FAUSTINO XAVIER
                  BETANCOURT COLON

                           Plaintiff


                              V.,

                 UNIVERSAL GROUP, INC.

                          Defendant




                                                 COMPLAINT

     TO THE HONORABLE COURT:

                Comes now plaintiff, Faustino Xavier Betancourt Colon (hereinafter "Mr. Faustino
     Betancourt" or “Mr. Betancourt Colon") and requests a permanent injunction 1 against
     Universal Group Inc., (hereinafter "defendant" or "Universal Group") in accordance with
     the provisions of Title III of the American with Disabilities Act.


                                               I. THE PARTIES
     1.         The plaintiff’s name is: Faustino Xavier Betancourt Colon. His mailing address
                is: Res. Los Lirios Apt.34, 11 Teresa Hornet St., Building 12, Apt. 34, San Juan
                (Cupey), PR 00926-7561. His phone number is: (787) 348-7280.
     2.         The name of the defendant is Universal Group Inc.
     3.         The defendant is titleholder, lessee, lessor and/or operator of the place of public
                accommodation identified in paragraph 7.


                                            II. THE ALLEGATIONS



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          No preliminary injunction is requested at this time.
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     A. About the Medical Conditions of the Plaintiff


     4.     Mr. Faustino Betancourt Colon has the following conditions: (1) hypertension, (2)
            type II diabetes mellitus; (3) diabetic neuropathy; (4) osteoarthritis; (5)
            inflammatory arthritis; (6) hydrocephaly; (7) congestive heart failure; (8)
            deformity in both feet; (9) chronic pulmonary obstruction; (10) sleep apnea; (11)
            degenerative joint disease of the lumbar spine; (12) carpal tunnel. Due to heart
            failure, he was implanted with an automatic defibrillator in February 2012, to
            prevent sudden death.
     5.     As a result of the conditions, Mr. Betancourt Colon faces a significant mobility
            limitation compared to the average person in the general population. A concrete
            example is heart failure, which causes swelling in the feet, generating pain that
            considerably limits his ability to walk. The very act of moving with swollen feet
            becomes a painful and complicated experience. In addition, heart failure
            significantly affects his ability to move around, since any activity that requires
            walking causes agitation in his breathing, or can even lead to episodes of
            hyperventilation. This drastically decreases his autonomy and freedom of
            movement.
     6.     As if that were not enough, the presence of foot deformities also contributes
            significantly to your mobility limitations and the challenge of maintaining balance.
            These deformities represent an additional challenge that affect his ability to move
            fluidly and safe, which further complicates his daily life. In summary, Mr.
            Betancourt Colon faces multiple obstacles that considerably limit his mobility.
            Complications derived from heart failure and deformities in his feet create a
            scenario in which to walk and maintain. balance become difficult and painful tasks.
            His ability to move is severely affected, which has an impact on his quality of life
            and his ability to manage daily activities.


     B.     The Property in Controversy and the Competence of the Court


     7.     The property in controversy is a place of public accommodation, known as
            Universal Insurance located at the address Cañabon Ward, Hwy. 166 Km. 58.7,
            Caguas, Puerto Rico and whose coordinates are 18.2343606·66.064:3388.

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     8.    (Hereinafter, we will refer to this place as “the Property" or as
           "Universal").
     9.    The defendant is the titleholder, lessor, lessee and/or operator of the
           aforementioned Property.


     C.    Discrimination at the Property against Plaintiff by Reason of his Disability.


     10.   Mr. Faustino visited Universal on July 27 of this year with the main purpose of
           exploring the possibility of changing his car insurance to this company. He was
           interested in obtaining information about the benefits and criteria of Universal's
           vehicle insurance, so that he could make an informed decision about whether it
           would be advantageous for him to change the insurance provider for his car. As a
           result of his visit, Mr. Betancourt has knowledge of the existence of the following
           architectonic barriers in the Property:


                   Property Exterior:
           a.      Corridors adjacent to accessible parking spots do not connect to an
                   accessible route in violation of ADAAG 2010 § 502.3. This situation
                   became more worrisome in the last parking spot from right to left whose
                   adjacent corridor is obstructed by a green container.
                   Property Interior:
           b.      The hallway connecting the entrance and the waiting room does not
                   comply with the 36-inch width required by ADAAG 201.0 §403.5.1 due
                   to its excessive narrowness, and the presence of chairs and an advertising
                   poster that obstruct the necessary space for free traffic flow of persons with
                   disability. The chairs are located in the left side of the hallway
                   considerably reducing the available width.
           c.       The exit door is obstructed with a black mat that is not firmly adhered to
                   the floor in violation of 2010 ADAAG § 302.2.
           d.      The brown color customer service counter with a blue surface is higher
                   than the maximum allowed by the regulations, that is, it is higher than 36
                   inches measured from the floor to the counter surface on all its points.

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                ADAAG 2010 § 904. Additionally, the counter does not have a surface at
                least 36 inches long because the surface is obstructed by a plastic divider.
                ADAAG 2010 § 904.4.1.
                Additionally, the lack of a surface of at least 36 inches long due to
                obstruction by a plastic divider on the counter aggravates the situation.
                This obstruction prevented Mr. Betancourt from being able to get close
                enough to the person shown with his scooter, making it even more difficult
                for him to communicate with the person and the ability of carrying out
                transactions comfortably.


                Bathrooms of the Property:
          e.    Free space around the toilet: Mr. Betancourt found that the floor area
                around the toilet is very narrow, since it did not have enough free space
                around the toilet, specifically, it did not have the required 56 inches from
                the back of the toilet to the front wall of the toilet, in addition, the space
                provided is not free from the obstruction, since at the front of the toilet
                there is a silver color trash can which further reduces the space, making
                the transfer from the wheelchair or a scooter to the toilet and vice versa in
                addition to its use. ADMG 2010 § 604.3.l.
          f.    Height of the sink: The sink in the men's bathroom designated as
                accessible with a blue surface is higher than the maximum height allowed
                by regulations, that is, it exceeds 34 inches in height measured from the
                floor to the surface of the sink in all its points. ADMG 2010 §606.3.
          g.    The pipe underneath the sinks: To prevent possible injuries, water pipes
                and drainage of sink should be isolated, enclosed, or configured to prevent
                direct contact. Additionally, the area surrounding pipes and surfaces must
                provide the space necessary for people to comfortably place their knees
                and toes, as stipulated in ADAAG 2010 §606.5. However, the bathroom
                sink in the Men’s bathroom designated as accessible did not have any type
                of isolation in the part of the pipes.
          h.    The door lock: The blue door lock in the men's restroom marked as
                accessible is an operable part that must be operable with one hand and not
                involve a tight grip or twisting of the wrist, per ADAAG 2010 §309.4, §

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                   404.2.7. However, the bathroom door lock in question requires twisting
                   your wrist, which does not comply with ADA regulations..
           i.      Mirrors: The mirrors in the men's bathroom marked as accessible are
                   located at a height greater than 40 inches, measured from the height of the
                   floor to the beginning of the reflective surface, which constitutes a
                   violation of the ADMG 2010 §603.3.
           j.      The paper towel dispenser: According to regulations, paper towel
                   dispensers must be located at a maximum height of 48 inches ADAAG
                   2010 §606.l & 308. However, in the men's restroom, the operational part
                   of the paper towel dispenser for drying hands installed on the wall adjacent
                   to the sink is located at a height greater than 48 inches, and is also
                   obstructed by the trashcan just below it.
           k.      Soap Dispenser: In accordance with 2010 ADAAG regulations §205,
                   §309, §308.2.1, soap dispensers are operable parts and, therefore, must be
                   up to a maximum of 48 inches in height to guarantee accessibility.
                   However, in the men’s accessible restroom, soap dispensers installed next
                   to each mirror are located at a higher height than required, which
                   represents a violation of ADA and Mr. Betancourt may not use it properly.

           l.      The barriers on the exterior of the Property are related to the conditions of
                   Mr. Faustino Betancourt because, as a disabled person, the fact that the
                   corridors adjacent to the parking spots do not connect with an accessible
                   route impeded his ability to reach safely and comfortably from the parking
                   spaces marked as accessible to the desired destination inside the property.
                   As a result, his right to equal opportunity and full participation in on-site
                   bicycle activities and services is hindered. Furthermore, the presence of
                   the green container that obstructs the corridor adjacent to the last parking
                   spot from right to left further aggravates the barrier. This creates an ever
                   more unsafe and difficult condition when passing with his scooter.

     11.   The barriers inside the property are linked to the conditions of Mr. Faustino
           Betancourt. Firstly, the width of the hallway that connects to the waiting room
           represents a significant limitation on the maneuverability of your scooter. This
           makes it difficult for him to pass between chairs, generating insecurity and

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           resulting in a lack of accessibility. This in turn causes a feeling of exclusion and
           hinders his full participation in the establishment.

     12.   Secondly, the mat obstructing the exit door poses a risk to Mr. Betancourt. Since
           it is not secured to the floor, there is a possibility of the mat becoming tangled in
           the wheels of his scooter when trying to get out, which could cause a fall. Finally,
           the height of the counter poses a significant challenge in Mr. Betancourt's
           interaction with the staff of the establishment. Being higher than appropriate, it is
           difficult for him to reach or see the surface of the counter to carry out transactions
           or receive appropriate attention. This creates a barrier in terms of communication
           and access to services for Mr. Betancourt, affecting his ability to fully participate
           in the place, in addition, the lack of a surface of at least 36 inches long, due to the
           obstruction caused by a plastic divider on the counter which makes the situation
           worse. This obstruction prevents Mr. Betancourt from being able to get close
           enough to the counter with his scooter, making it even more difficult for him to
           communicate with the staff and the possibility of carrying out transactions
           comfortably.

     13.   The barriers in the Property's bathroom are related to the conditions of Mr.
           Faustino Betancourt because, first of all, the narrow space in the bathroom cubicle
           prevents him from maneuvering properly and causes difficulties when passing
           from his scooter to the toilet. Furthermore, the inappropriate height of the sink
           prevents him from using it correctly, since he cannot reach the faucet. The situation
           is aggravated by the inadequate height of the soap dispenser, which requires Mr.
           Betancourt to stretch to access it, increasing the risk of falls and injuries. This risk
           is exacerbated by the fact that the sink pipe is also exposed, which represents
           another potential risk. Likewise, the height of the paper towel dispenser forces Mr.
           Faustino to stretch, which poses a risk of falling or




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           destabilization from his chair when trying to reach the paper towels. The
           obstruction also prevents you from getting close enough to the dispenser which
           adds complications. Mirror height is discriminatory for Mr. Faustino, since due to
           his height he cannot see himself properly, which reinforces his feeling of not being
           welcome on the property. The lock of the bathroom door represents an additional
           problem for him since it poses additional or unnecessary efforts when trying to
           manipulate it with the problem with his hands when entering or exiting the
           bathroom.

           Lastly, the lack of isolation of sinks contradicts ADA regulations and carries a
           potential risk of injury to Mr. Faustino. Since he uses his scooter, his legs are under
           the sink, in close proximity to the pipe, which could expose him to bumps, injuries
           or accidents.

     14.   These problems on the exterior of the Property could be solved by creating an
           accessible route that connects with the nearby areas in the parking lots or by
           changing the location of the accessible parking spaces, in addition to adding the
           green container to the location. so that it does not obstruct the space adjacent to the
           station.

     15.   The barriers inside the Property could be solved as follows, by reconfiguring the
           counter so that it meets the required height and length, and changing the chairs in
           the location corridor so that it meets the required width.

     16.   The barriers in the bathroom of the Property could be solved in the following way:
           First: removing from the toilet area all the elements that hinder and prevent the
           existence of the free space required, expanding the existing bathroom so that it
           guarantees the space or reconfiguring it. In front of the dispensers and the mirrors,
           by lowering them so that they are more accessible and avoid damage to the user.
           Additionally, the door lock must be replaced and cover the pipe under the sink.

     17.   It is possible that Mr. Betancourt will be affected in the future by the barriers that
           exist on the property because:

           a. Mr. Betancourt is determined to return to the property within the next few
           months in order to deepen his understanding of the details of the insurance, ask
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           additional questions, and ensure that he is making the right choice to protect his
           investment and personal well-being.

           b. Mr. Betancourt has a great interest in the services offered by Universal since its
           vehicle insurance service offers features that his current company does not have.

           c. The distance between Mr. Betancourt's residence and the property is 23 minutes
           by car, a reasonably close distance for him.

           d. Mr. Betancourt frequently moves around the area where the Property is located
           because it is located on a main road that connects with several places of interest to
           him, such as the Los Prados shopping center.

     18.   Mr. Betancourt is interested in returning to the Property as a civil rights tester, that
           is, as a person in charge of evaluating whether his civil rights are being respected
           and protected. In the context of the ADA, a civil rights tester is someone who
           investigates and evaluates whether people with disabilities are receiving the same
           access and fair treatment as people without disabilities. The role of the civil rights
           tester is crucial in the context of the ADA, since this Act was designed to protect
           the rights of people with disabilities and to ensure that they have access to the same
           services and opportunities as people without disabilities. However, even though
           the ADA was enacted in 1990, people with disabilities still face barriers and
           discrimination in their daily lives. Historically, civil rights testers have played an
           important role in the fight for equal rights and the elimination of discrimination in
           the United States. In the 1960s, civil rights testers were used by leaders of the civil
           rights movement to evaluate whether businesses and institutions were complying
           with civil rights laws. These testers helped expose discrimination and pressure
           businesses and institutions to comply with the law. Their work is important
           because it helps ensure that people with disabilities have access to the same
           services and opportunities as people without disabilities, and it helps to expose and
           eliminate discrimination. Langer v. Kisser. No. 21-55183 (9th Cir. Jan. 23, 2023)
           (“Being an ADA tester is, in fact, a legitimate reason to go to a business and the
           district court's insinuation otherwise is legally flawed.”)




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     19.        Mr. Betancourt has suffered dignitary damage, which is a type of damage in cases
                of discrimination, as expressed in the binding case 2 Laufer v. Acheson Hotels
                LLC, 50 F.4th 259 (1st Cir. 2022) ("Dignitary harm or stigmatic injuries caused
                by discrimination have long been held a concrete injury in fact") These damages
                seek to compensate for the loss of dignity and self-esteem that a person may
                experience as a result of discrimination. In other words, dignitary damages
                recognize that discrimination cannot only cause physical or economic harm, but
                can also profoundly affect the self-image and self-esteem of the discriminated
                person. This may include feelings of shame, humiliation, and belittlement. The
                ADA allows people who have been discriminated against on the basis of disability
                to seek compensation for personal damages. Mr. Betancourt reports that he claims
                dignitary damages in the following two independent ways: (1) through judicial
                recognition that there was dignitary injury to Mr. Betancourt; (2) by imposing the
                amount of one dollar as dignitary damage. No compensatory damages are
                requested.

     20.        Because the construction and alteration history of the property is not known at this
                time, it is alleged: the property was built and/or altered after March 15, 2012; In
                the alternative, the Property was built or altered after January 26, 1993;
                Alternatively, the property was built prior to January 26, 1998, but the defendant
                has the financial resources to bring the property into compliance with the most
                current building codes.

                                 III. LEGAL REMEDIES REQUESTED

     WHEREFORE, the plaintiff very respectfully requests the following legal remedies:

     A.         A permanent injunction pursuant to 42 USC§ 12188 (a) (2) and 28 CFR § 86.504
                (a) ordering the Plaintiff to remove architectural barriers that exist on the Property
                by complying with accessible design guidelines that apply according to its date of
                construction and alteration. If it is a property that existed as of January 26, 1998,
                that the property be altered to bring it into compliance with the most recent
                accessible design guidelines promulgated under the ADA to the maximum extent


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         Binding as to federal law only.
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            economically feasible for the defendant, either immediately or through a long-term
            transition plan towards full compliance. If the creation of a transition to compliance
            plan is not economically feasible, or if the changes that are necessary are not
            structurally possible, we request that access to goods and services be ordered to be
            made available through alternative methods pursuant to 42 U.S.C. §
            12182(b)(2)(A)(v).

     B.     A permanent injunction pursuant to 42 USC§ 12188 (a) (2) and 28 CFR § 36.504
            (a) ordering the responding party to eliminate currently existing discriminatory
            policies and practices that prevent the elimination of the architectural and/or
            political barriers and practices that prevent the provision of reasonable
            accommodations necessary for equal treatment.

     C.     In the event that the defendant continues its discriminatory condition, it is
            requested in accordance with 42 USC § 12188 (a) (2) and 28 CFR § 36.504, that
            the closure and shut down of the Property be ordered as a precautionary measure
            to stop the discriminatory condition until it has been reliably proven and to the
            satisfaction of the court that the discrimination has been eliminated.

     D.     Dignitary damages in the amount of one dollar or through a judicial
            pronouncement declaring that the dignity of the plaintiff was violated.

     E.     Attorney's fees, costs and litigation expenses, awarded to the plaintiff in the event
            he prevails.

     F.     The provision of any other remedy that is fair and proper, in law or equity, and that
            has not been expressly requested even though it is appropriate as a matter of law
            and in accordance with Rule 42.4 of the Rules of Civil Procedure of Puerto Rico.

     RESPECTFULLY SUBMITTED.

     Dated: August 17, 2003

     VELEZ LAW GROUP LLC
     Division of Civil Rights


     s/Jose Carlos Vélez Colón
     José C. Vélez Co1ón, Esq.
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     COUNSEL FOR PLAINTIFF




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                        CERTIFICATION

     CERTIFIED: That the attached document(s) is (are) true and
     correct translation(s) of the original document(s) from Spanish
     into English.

     Further, that I am a Federally Certified Court Interpreter &
     Translator for the Administrative Office of the U. S. Courts,
     within the active list of Certified Interpreters and Translators at
     the U.S. District Court, for the District of Puerto Rico.

     DOCUMENT:         Complaint in Betancourt Colon v. Universal
                       Insurance, Inc.

     DATE: 11-22-2023

     CONTROL#:         CTR-V1-0-23-19




                           Carlos T. Ravelo
                           AOUSC Certification # 95-063




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